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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against-

CAESAR DIAZ, and

20-cr-176 (LAK)

DUM OPINION

MICHAEL HAWKINS,
Defendants.
Gu Gy ee UE RE RE Be eRe Ee METy BRE me ome) oe ee we x
MEMORAN
Appearances:

Micah F. Fergen
Assistant United

AUDREY STRAUSS

ACTING UNITED

son
States Attorney

STATES ATTORNEY

David Arthur Ruhnke
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fendant Caesar Diaz

Jonathan Andrew Marvinny
FEDERAL DEFENDERS OF NEW YORK, INC.

Attorneys for De

LEWIs A. KAPLAN, District Judge.

fendant Michael Hawkins

Defendants Caesar Diaz and Michael Hawkins each is charged with one count of

knowingly possessing a firearm after having been convicted of a felony. They jointly moved to

suppress two guns obtained after a “‘stop and fri

sk” of both defendants and an arrest of Hawkins that

 
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2

they argue violated their rights under the Fourth Amendment.’ The Court held a suppression

hearing at which four police officers testified for the government and one layperson testified for the

defendants.” Defendants’ motion is denied for the following reasons.

Facts

“ShotSpotter” is a GPS enabled| sound detection system that the New York Police
Department (“NYPD”) uses to identify and locate gunfire within the city of New York.* Essentially
“a surveillance system,” ShotSpotter “uses sophisticated microphones to record gunshots in a
specific area.” When ShotSpotter detects a sound that may have been a gunshot, a report is
broadcast to NYPD officers on patrol that includes the approximate location of the alleged gunfire,

the elevation at which it was detected, and the number of rounds apparently discharged.”

 

| physical evidence, including the guns, obtained as a
ional conduct.” Defs.’ Mem. [Dkt. 14] at 1. The
ver, that any evidence apart from the guns resulted from
urt therefore addresses only the question of whether the

Defendants moved to suppress “al
result of the officers’ unconstitut
defendants have not argued, howe}
unconstitutional conduct. The Col
two guns should be suppressed.

Neither defendant testified at the su
in support of his contention that pol

ppression hearing. Hawkins submitted a written affidavit
ice officers unlawfully detained and frisked him and Diaz

without reasonable suspicion and u
Marvinny Decl. [Dkt. 13] Ex. B [
affidavit.

United States v. Rickmon, 952 F.3d
Gov’t Mem. [Dkt. 15] at 2 n.2.

Rickmon, 952 F.3d at 878.

Tr. at 5:15-19.

nlawfully arrested Hawkins without probable cause. See
hereinafter “Hawkins Decl.”]. Diaz did not submit an

876, 878 (7th Cir. 2020); see also Compl. [Dkt. 1] § 4(a);

 
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On the evening of October 20, 2019, two nearly identical ShotSpotter reports were
broadcast to NYPD officers on patrol in the Btonx.® The first report, broadcast around 7:40 PM,
stated that one round of apparent gunfire was detected at roof-level at 940 Reverend James A. Polite
Avenue.’ Officers who responded to the address encountered a three-story, single family home (the
“940 Building”),* which shared a wall with a six story, walk up apartment complex at 936 Reverend
James A. Polite Avenue (the “936 Building”).’? According to officers who testified at the
suppression hearing, the neighborhood around the buildings is high in criminal activity, and the 936
Building in particular has been the subject of numerous police calls.'°

The officers who responded to |the first ShotSpotter report observed that the 940
Building appeared to have “no rooftop access.7'' The 936 Building, however, had a flat roof that

the officers knew from prior experience was accessible by internal stairwell.’ Understanding that

 

Compl. § 4(a); Tr. at 5:8-11, 8:5-6.

Tr. at 7:25-8:15.

Compl. ¥ 4(a); Tr. at 82:2-17.

Tr. at 14:15-21, 15:2-17.

Id. at 15:2-17, 105:15-106:2, 135:]-7.

Id. at 107:9-12. The complaint describes the 940 Building’s roof as “pointed.” Compl. §
4(a). A photograph submitted by the defendants shows that the 940 Building in fact has a
flat roof that is behind pointed gables. Defs.” Mem. at 6.

id. at 135:1-7.

 
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“
ShotSpotter locations are accurate to about a “halfa block radius,” the officers determined that the
936 Building was more likely than the 940 Building to have been the location of roof level gunfire
and searched it from top to bottom.’ Finding no evidence to corroborate the ShotSpotter report,
they departed."

Around 8:51 PM, a second ShotSpotter report was broadcast again stating that one
round of apparent gunfire was detected at roof level at 940 Reverend James A. Polite Avenue.'®
This time, Officers Stephen Bonezyk and Cynthia Lopez — both of whom heard the first ShotSpotter
report but did not respond to it'’ — immediately|drove to the address in a marked police car.'® Like
the officers who responded to the first report, Officers Bonezyk and Lopez were familiar with the
neighborhood, understood ShotSpotter locations to be approximate, and knew from experience that

the 936 Building had a roof accessible by internal stairwell.””

 

Id. at 104:15-22. The responding officers had significant experience responding to
ShotSpotter reports. See e.g., id. at 5:20-6:6 (Officer Bonezyk testified that he had
responded to more than 50 ShotSpotter reports prior to October 20, 2019); id. at 62:15-25
(Officer Lopez testified that she responded to about 10 ShotSpotter reports a month prior to
October 20, 2019); id. at 103:15-104:2 (Sergeant Perez testified that she had experience
responding to ShotSpotter reports and received also official training on the program prior to
October 20, 2019).

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Td. at 106:21-107:4, 135:1-20.

Td. at 106:23-107:24.

Id. at 8:25-9:11.

Td. at 4:18-5:11, 8:16-19, 63:23-64:9.
18

Id. at 4:18-5:5, 11:7-17.

Id. at 7:5-15, 13:3-23, 15:2-24, 63:10-18, 65:14-66:4. Officer Bonczyk testified that, prior
to October 20, 2019, he had been inside the 936 Building on its top floor, where he had seen

 
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As Officers Bonezyk and Lopez

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pulled up to the 940 Building — about “two to three

minutes” after the second ShotSpotter report was broadcast” — they saw Diaz and Hawkins exiting

the front door of the 936 Building and entering a gated, “open-air vestibule area.” The officers saw

no one exiting or entering the 940 Building, which they noticed had a roof that appeared partially

slanted.” From their moving police car, the officers observed Diaz — who had his hood on and his

hands in his sweatshirt pockets — “turn[] his body slightly.” They observed also Hawkins “pivot”

and “hurry[]” as he walked toward the vestibule's front gate.’ Officer Lopez testified that she

thought Hawkins's body pivot may have been

car.

an effort to hide himself when he saw their police

Officers Bonezyk and Lopez parked and approached the 936 Building on foot.” As

they approached the vestibule, Officer Bonezyk observed that Diaz and Hawkins were still walking

towards its front gate, and that both had their h

 

internal stairwells leading to the ro

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Id. at 11:18-20.

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Compl. 7 4(b); see also Tr. at 17:2

Tr. at 19:17-20:2, 66:16-21.
23
Id. at 18:1-6, 19: 2-6.
24
Td. at 18:1-6, 88:7-9.
25
Id. at 88:7-22; 97:11-17.
26
Td. at 21:24-22:6.

Id. at 22:1-17.

ands in their sweatshirt pockets.*’ The government

of. Jd. at 15:2-24.

L-25, 19:15-16.

 

 
 
  
    

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introduced security footage from the 936 Building showing the defendants exiting the 936 Building
into the vestibule.* Due to the positioning of the security camera — which was focused only on the
front door of the 936 Building, opposite the front gate of the vestibule — neither the second half of
defendants’ passage toward the front gate nor the ensuing interaction with Officers Bonezyk and
Lopez was captured. According to Officer Bongzyk, Diaz was “creating a tension” in his sweatshirt
with his hands, which Officer Bonezyk interpreted as an effort to “conceal his midsection.”
Officer Lopez testified that, once the officers got to the gate, she recognized Diaz as having been
arrested for assaulting a police officer in the past.”°

While standing outside the vestibule's front gate, Officer Bonezyk asked Diaz and
Hawkins to take their hands out of their sweatshirt pockets, which they did.*' When Diaz removed
his hands from his sweatshirt, Officer Boncezyk saw the garment shift up, revealing a “bulge in his

center waistline area” that Officer Bonczyk thought was a weapon.” Officer Bonezyk testified that

he then asked for consent to search Diaz and Hawkins. Diaz responded, in sum and substance,

 

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See Gov't Ex. 5 at 20:48:13. ith regard to the time stamp on the security footage,
testimony at the hearing showed that it was about five minutes delayed, and that, despite
stating a time of “20:48:13” when) Diaz and Hawkins began walking out of the building, it
was in fact around 20:52, or 8:52 p.m. Tr. at 20:21-21:22.

29
Id. at 24:17-22, 58:22-59:3.
30
Id. at 69:6-70:8.
31
Id. at 25:1-12.
32
Td. at 25:7-12, 59:4-13.
33

Id. at 28:8-17.

 

 
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7
“Don't fucking touch me. I'm going to sue you.?** Diaz and Hawkins tried to exit through the front
gate but were blocked by the officers.”

Seconds later, six additional officers joined Officers Bonezyk and Lopez at the gate,*°
The group included Officer Cristian Hernandez and Sergeant Alejandra Perez, both of whom had
responded to the first ShotSpotter report.” [Two of the officers entered the 936 Building to
investigate.°* After about five to ten minutes, they found a shell casing on the roof.” On the
sidewalk, Sergeant Perez spoke to a man walking his dog who said he lived in the 936 Building and
heard a gunshot.” According to Sergeant Perez, the man “motioned with his head” toward Diaz and
Hawkins — both of whom the man said that hd saw coming down from the roof — and told her to

“check them.”™"!

 

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Compl. § 4(c); see also Tr. at 28:8
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Tr. at 28:18-29:3.
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Td. at 29:11-16, 33:13-15, 70:15-20.
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Id.; see also id. at 104:23-105:8, 133:1-15.
38

Id. at 30:2-18.
39

Id. at 33:4-10; 73:7-15.
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Id. at 108:10-109:1, 115:22-116:9.
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Id. at 108:10-109:1.

 

 
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Meanwhile, Officers Boncezyk, Lopez, and Hernandez separated Diaz and Hawkins
and began questioning them on opposite sides of the front vestibule.” Diaz and Hawkins both told
the officers that they did not live in the 936 Building,” but they provided conflicting information
regarding what they had been doing inside.| Though the officers’ testimony was somewhat
inconsistent regarding what the defendants said, the record establishes to the Court’s satisfaction that
Diaz said they had been smoking marijuana with a friend on the fifth floor," while Hawkins said
they were with his cousin, Daniel Holmes, on the sixth floor.*” At some point, Hawkins used his cell
phone to call Holmes, who testified that he ¢ame downstairs and told officers inside the 936

Building that Diaz and Hawkins had been with him on the sixth floor.*° Officers Bonezyk, Lopez,

and Hernandez, and Sergeant Perez, testified that although they knew Hawkins made a phone call,

 

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Id. at 30:2-12, 71:5-10.
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Id. at 71:21-72:7, 140:1-9.
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Id. at 31:14-16 (Officer Bonezyk testified that Diaz said he was smoking marijuana at his
friend’s apartment on the fifth floor); id. at 71:21-23 (Officer Lopez testified that Diaz said
he was smoking marijuana “in the staircase” with Hawkins).

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Id, at 31:17-19 (Officer Bonezyk tdstified that Hawkins said he was on the sixth floor in his
cousin’s apartment); id. at 72:5-7 (Officer Lopez testified that Hawkins said “he had a family
member that lived in the building”); id. at 140:1-9 (Officer Hernandez testified that Hawkins

said he was visiting family but could not provide the floor number of his family member’s
apartment).

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Id. at 159:6-162:10. Though body camera footage from the officers who were inside the 936
Building confirmed that Holmes spoke to them, id. at 162:12-163:14, Holmes’s testimony

was weak at best. While on the
whether he actually lived at the 93
that he provided police officers

stand, Holmes provided inconsistent answers regarding
6 Building — for instance, he was confronted with the fact
With a different “mailing” address on more than one

occasion, including when officers spoke to him inside the 936 Building on the night in
question. Jd. at 165:11-22, 171:17-172:25. Subsequently, Holmes testified that he lied to

officers when he provided them with this mailing address (which was also the address on his
identification card). Id. at 172:21-25.

 
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they did not know that Holmes had spoken to officers inside.*’ The officers testified that, because
Diaz and Hawkins's statements were inconsistent and vague, they did not find them to be credible.

After being informed about the shell casing discovery and the dog-walking witness,
Officer Bonezyk frisked Diaz.” He began with his center waistband area, where he had seen the
bulge.” He recovered an unloaded gun inside a plastic bag in Diaz's groin area and arrested him.”!
Subsequently, Hawkins was arrested by Officer Hernandez.” When Hawkins asked why he was
being arrested, Officer Hernandez told him it was because he was “to gether” with Diaz.’ Hawkins
was frisked at the scene after his arrest, but no weapons were found.* After searching Hawkins at
the police precinct, officers found a loaded gun in his groin area.” The gun recovered from Hawkins

matched the shell casing officers found on the roof of the 936 Building.*°

 

47
See id. at 32:9-25, 91:6-22, 110:22+111:9, 140:16-25.
48
Td. at 31:23-32:2, 72:8-12, 140:10415.
49
Id, at 33:4-35:24.
50
Id.
51
Id. at 36:9-15, 45:23-46:1.
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Td. at 36:9-15, 142:17-143:4.
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Td. at 144:18-145:13.
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Id. at 143:11-16.
55
Td. at 145:17-146:14.
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Id. at 44:8-15.

 

 
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Analysis

The defendants argue that the officers violated their Fourth Amendment rights at

three points: (1) when the officers stopped them

in the front vestibule of the 936 Building, (11) when

they frisked them, and (iii) when they arrested Hawkins.” The Court rejects each of these

arguments.

[ The Stop

Under the Fourth Amendment) a law enforcement officer “may conduct a brief

investigatory detention — also referred to as a

Terry stop — as long as the officer has reasonable

suspicion that the person to be detained is committing or has committed a criminal offense.”* A

Terry stop is “an intermediate response” that allows officers “to pursue a limited investigation when

they lack the precise level of information necessary for probable cause to arrest.” Accordingly,

the standard by which such a stop is measured is “not high.” It requires only a “reasonable

suspicion that criminal activity may be afoot.”

 

a7
Defs.’ Mem. at |.
58
United States y. Fiseku, 915 F.3d

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863, 870 (2d Cir. 2018) (quotation marks omitted) (first

quoting United States v. Compton, 830 F.3d 55, 61 (2d Cir. 2016); and then citing Terry

v. Ohio, 392 U.S. 1 (1968)).
59
United States v. Elmore, 482 F.3

60
United States v. Santillan, 902

d 172, 178 (2d Cir. 2007).

F.3d 49, 56 (2d Cir. 2018) (quoting United States v.

Singletary, 798 F.3d 55, 60 (2d Cir. 2015)), cert. denied, 139 S. Ct. 1467 (2019).

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Id.

 

 
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A, When the Seizure Occurred
Because grounds for reasonable suspicion must exist at the inception of a Terry stop,

the first task is to determine when Diaz and Hawkins were stopped, or “seized,” for the purposes of
the Fourth Amendment.”
Individuals are not seized under the Fourth Amendment every time they stop and

cooperate with police officers. Officers “may generally ask [an] individual questions,” “ask to
examine [an individual's] identification,” and|“request consent to search [his or her] luggage”

without any basis for suspecting that the individual has engaged in unlawful conduct.”

So long as

officers “do not induce cooperation by coercive means,” these types of interactions are “consensual
P y Pp

encounter[s] that implicate[] no Fourth Amendment interest.”®° An officer's conduct rises to the

level of a seizure when “(1) a person obeys a police officer's order to stop or (2) a person that does

not submit to an officer's show of authority is physically restrained.”*”

 

See, e.g., Dancy v. McGinley, 843] F.3d 93, 108 (2d Cir. 2016).
63
See, e.g., United States v. Mendenhall, 446 U.S. 544, 554 (1980) (“[C]haracterizing every
street encounter between a citizen and the police as a ‘seizure,’ while not enhancing any

interest secured by the Fourth Amendment, would impose wholly unrealistic restrictions
upon a wide variety of legitimate law enforcement practices.”).

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Florida v. Bostick, 501 U.S. 429,|435 (1991) (citations omitted); see also United States
y, Drayton, 536 U.S. 194, 201 (2002).

65
Drayton, 536 U.S. at 201.
66
Florida v. Rodriguez, 469 U.S. 1, 6-6 (1984); see also Drayton, 536 USS. at 201.
67
United States v. Simmons, 560 F.3d 98, 105 (2d Cir. 2009) (citing United States v. Swindle,
407 F.3d 562, 572 (2d Cir. 2005)).

 
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The defendants effectively obey

Lopez physically blocked them from leaving

struggle. The question thus becomes wheth¢

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12
ed an “order to stop” when Officers Bonezyk and
the front vestibule, and they cooperated without

sr the officers’ conduct before they blocked the

defendants —i.e., when the officers asked the defendants to remove their hands from their sweatshirt

pockets and to consent to a search — amounted t

These initial requests did not an

Amendment. An officer's “order to stop const

need not expressly demand that the individual “
— for instance, “loud” and “commanding” dem
suffice.” The key question “is whether a reaso
requests or otherwise terminate the encounter.’

There is nothing on the record
“fe[lt] free to decline” the officers' requests
approached the defendants at the front gate- O

the defendants for all of 15 seconds before thi

 

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Simmons, 560 F.3d at 105-06 (cit
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Dancy, 843 F.3d at 108.
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Drayton, 536 U.S. at 202 (quotin
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See Drayton, 536 U.S. at 201-02.
72

Tr. at 28:14-29:2.

» a prior “order to stop” that the defendants obeyed.
nount to an “order to stop” implicating the Fourth
itutes a seizure ‘if a reasonable person would have
believed that he was not free to leave,’ and the person complies with the officer's order.”** Officers

Halt!” for their conduct to constitute an order to stop

ands that an individual stop using a cell phone can

mable person would feel free to decline the officers’

70 Tf so, the conduct did not amount to a seizure. ”!

to indicate that a reasonable person would not have

and “terminate the encounter” when the officers

fficer Lopez testified that the officers interacted with

ey blocked the defendants from leaving.” During

ations omitted) (quoting Mendenhall, 446 U.S, at 554).

» Bostick, 501 U.S. at 436).

 

 
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those 15 seconds, Officer Bonezyk asked the def
pockets, which they obliged, and for consent to

were more indicative of “initial contact betweet

consensual encounter that implicates no Fourth

amounts to a seizure.

“coercive” manner.” The defendants clearly fel

both refused — Diaz “somewhat colorfully

terminate the encounter, which they attempted

The defendants argue that the sé

with Officer Bonczyk's request to remove 4

misunderstands the effect of their initial comy

The requests were no

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13
endants to remove their hands from their sweatshirt
search, which they did not oblige. These requests
nh... officers and [individuals]” that is “the sort of
Amendment interest” than of an order to stop that

t repeated, “loud, commanding,”

or made in a
t free to decline at least one of the requests, because
to consent to a search. Likewise, both felt free to
to do before the officers blocked them.

tizure was effected when they voluntarily complied

heir hands from their pockets.”” But this view

sliance. Under Second Circuit law, the analysis is

twofold: there must be (I) an “order to stop” that causes a reasonable person to believe that he or she

is not free to leave, and (ii) the compliance

 

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See Rodriguez, 469 U.S. at 5-6.
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See Dancy, 843 F.3d at 108.
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See Drayton, 536 U.S. at 201.

Tr. at 192:18-21. In response to (
stated: “Don’t fucking touch me.

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Tr. at 186:17-24, 188:4-12.
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Simmons, 560 F.3d at 105-06; S
Second Circuit in Swindle foun
enforcement of the officer’s order
physical force . . . or, where tha

effectuate a seizure when the indi

with or physical enforcement of such an order.”

)fficer Bonezyk’s request for consent to search, Diaz
I’m going to sue you.”

windle, 407 F.3d at 571-74. After lengthy analysis, the
(| that the requirement of compliance with or physical

derived from Supreme Court case law requiring “either

t is absent, submission to the assertion of authority” to

vidual flees from police. 407 F.3d at 572 (alteration in

 

 
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Importantly, the requirement that a reasonable pe

he or she was not free to leave is the "necessai

that the defendant was seized the moment he wa
a reasonable person in the defendants’ circumst
decline the officers' requests and leave, it hold
blocked the exit route.
B. Whether Reasonable Suspicion

The next issue is whether the offi
when they blocked them from leaving the front
In reviewing whether a Terry st

must ask “whether there was a ‘particularized an
under the ‘totality of the circumstances.””*' By
leaving the front vestibule, Officers Bonzcy

particularized basis to suspect them of shootin

 

original) (quoting California v. Ho
word ‘seizure’ . . . ‘does not remot
in the name of the law!” at a flee
question that the defendants subm

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Swindle, 407 F.3d at 572 (quoting
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560 F.3d at 106; see also Tr. at 18
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Simmons, 560 F.3d at 103 (quotin

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rson in the circumstances would have believed that
ry... condition for seizure." This is clear from
United States v. Simmons, the case that defendants cited in support of their argument, which found
s “not free to leave.”*” As the Court concludes that

ances would have felt, and in fact did feel, free to

s also that no seizure occurred before the officers

Existed

cers had reasonable suspicion to stop the defendants
vestibule. The Court concludes they did.

op was supported by reasonable suspicion, a court

1d objective basis’ for suspicion of legal wrongdoing
y the time the officers blocked the defendants from
Ik and Lopez had an objectively reasonable and

@ a gun off the roof of the 936 Building.

Hari D., 499 U.S. 621, 626 (1991)). This is because “[t]he

ly apply . . . to the prospect of a policeman yelling “Stop,
ng form that continues to flee.” Jd. Here, there is no
tted to the officers’ “assertion of authority.”

Hodari D., 499 U.S. at 628).

8:4-12.

g United States v. Arvizu, 534 U.S. 266, 273 (2002)).

 
 

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is

To begin, the ShotSpotter reports, coupled with the officers' familiarity with and

observations of the area, provided “reasonable suspicion that criminal activity may [have] be[en]

afoot” in the 936 Building. Before Officers Bonezyk and Lopez arrived on scene, two ShotSpotter

reports detected gunfire at roof-level near the 9 0 Building, which appeared to have no roof access.

The officers’ testimony established that, in their experience, the address in a ShotSpotter report is

approximate: it merely “get[s] you to about the right block.”®? Knowing this, it was reasonable for

them to shift their focus to the 936 Building, which they knew from experience shared a wall with

the 940 Building, had a history of crime, and had an accessible roof.* This finding is bolstered by

the fact that the officers who responded to the initial ShotSpotter report, Sergeant Perez and Officer

Hernandez, did the very same thing. Finally, t

 

e timing of the defendants’ departure from the 936

Building, their body movements while they departed, and Diaz's concealment of a bulge in his groin

area provided an objective and individualized basis for stopping the defendants.

The defendants argue that a ShotSpotter report, “standing on its own,” cannot be the

basis of “individualized suspicion.’ But

the ShotSpotter reports are only two pieces of the

calculus. Officer Lopez testified that the timing of Diaz’s and Hawkins's departure from the 936

 

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Santillan, 902 F.3d at 56 (emphasis omitted) (quoting Singletary, 798 F.3d at 60).

Tr. at 7:9-11; see also id. at 63:1

OL18, 104:15-22.

See Singletary, 798 F.3d at 60 (“[W]hile a reviewing court cannot merely defer to police
officers’ judgment in assessing reasonable suspicion, the court must view the totality of the

circumstances through the eyes

of a reasonable and cautious police officer on the scene,

whose insights are necessarily guided by his experience and training.”); see also Simmons,
560 F.3d at 108 (“It is a relevant consideration, though by no means dispositive, that the
officers, upon arrival, encountered Simmons along with a gathering of people at the

apartment building, late at night,

See Defs.’ Reply [Dkt.16] at 2-3

and in a high-crime area.”)

quoting Rickmon, 952 F.3d at 881).

 

 
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Building linked them to the suspected crime: if

it would have taken the shooter about a few mi

building.** That is the approximate amount of ti

to the area and see the defendants exiting. Mor

body slightly and Hawkins pivot and hurry a
Bonezyk observed Diaz, whom Officer Lope
officer, creating tension with his sweatshirt that
a gun. These observations provided the office
coming and going from the area that night, Diz

In his affidavit, Hawkins disp
behavior when exiting the 936 Building.** At
footage from the 936 Building as showing that
way suspicious.” The security footage, howe
out of 936 Building, and does not capture ther
the officers. Officers Bonezyk and Lopez's tes

once they met the defendants at the gate, an

 

86
Tr. at 97:13-17.
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See, e.g., Illinois v. Wardlow, 528
nervous, evasive behavior is a pey

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Hawkins Decl. { 3.

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Tr. at 193:22-194:4.

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16
h gunshot had been fired at roof level, she thought,
nutes to walk down six flights of stairs and exit the
me that it took Officers Bonezyk and Lopez to drive
over, both officers testified that they observed the
defendants engage in “nervous, evasive” behayior*’ as they exited: the officers saw Diaz turn his
s their police car passed. Subsequently, Officer
recognized from a prior arrest for assaulting an

revealed a bulge that Officer Bonezyk thought was

rs with reasonable suspicion that, of all the people

iz and Hawkins were particularly suspect.

utes that he and Diaz engaged in any suspicious
the hearing, defense counsel pointed to the security
“t]he way these two leave the building is not in any
ver, showed only a portion of the defendants’ passage

n as they reached the front gate and interacted with

timony was consistent with respect to what occurred

d what they observed the defendants doing. And

U.S. 119, 124 (2000) (“Our cases have . . . recognized that
tinent factor in determining reasonable suspicion.”).

 

 
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although the Court considers Hawkins's affidavit, it affords it less weight than the credible testimony

offered by the officers at the hearing.”

IL. The Frisk

The facts described above provided the officers with reasonable suspicion to believe
the defendants were “armed and dangerous,” justifying the officers in “proceed[ing] from a stop to
a frisk.””! Moreover, by the time of Diaz's frisk — about ten to twenty minutes after the officers
arrived — the officers had gathered additional incriminating information.” The officers conducting

the frisk were aware that a shell casing had been found on the roof of the 936 Building. This

discovery corroborated the second ShotSpott¢r report and confirmed officers’ suspicions that a

gunshot had been fired from of the 936 Buildin

the 940 Building. The officers’ suspicions

 

90

See generally United States v. Rod
defendant submitted an affidavit .
credit the officers’ testimony over
F. Supp. 2d 387, 410-11 (E.D.N.%

p, from which the defendants had exited, rather than

were heightened when the defendants provided

riguez, 368 F. App’x 178, 180 (2d Cir. 2010) (“Although
_. it was not clearly erroneous for the District Court to
defendant’s affidavit.”); DiMattina v. United States, 949
2013) (“DiMattina has chosen not to testify in his own

defense. That is his constitutional right. Yet, he cannot use that right as shield to protect him
from potential criminal liability while concomitantly wielding his affidavits as a sword to
cast doubt on testimony found credible by the court as fact-finder. Without the threat of
cross-examination, DiMattina’s affidavits are viewed as self-serving and given little
weight.”); United States v. Al-Marri, 230 F. Supp. 2d 535, 539 (S.D.N.Y. 2002)
“Consequently, this Court follows the lead of other federal courts in valuing the weight of
live witnesses’ testimony over the contents of a defendant's affidavit, and gives lesser
consideration to Al-Marri’s version of the facts.”).

91

See Arizona v. Johnson, 555 U.S| 323, 326-27 (2009).

92
Tr. at 33:1-3, 93:11-14. Diaz was frisked first. Jd. at 35:18-36:17. After Diaz was found
with a gun and arrested, Hawkins was arrested and subsequently frisked. Jd. at 35:18-36:17,
143:11-16. On top of the additional incriminating information described above, by the time
of Hawkins’s frisk, the officers knew also that Hawkins had been exiting an area where
apparent gunfire was detected with someone who had a gun.

 

 
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inconsistent answers about what they had been
witness, who said he heard gunshots and saw th

additional individualized suspicion that connec

LI. The Arrest of Hawkins

18
doing in the building.”’ Finally, the dog walking
> defendants coming down from the roof, provided

ted the defendants to the suspected crime.

Lastly, Hawkins argues that his gun should be suppressed because Hawkins's arrest,

and the resulting search incident to arrest, independently violated the Fourth Amendment. The

Court disagrees.

A search incident to an arrest is

unlawful under the Fourth Amendment if the arrest

is not supported by probable cause." Probable cause exists where an officer has “sufficient

knowledge or reasonably trustworthy inform

ation to justify a person of reasonable caution in

believing that an offense has been or is being dommitted by the person to be arrested.”””

By the time the officers arrested Hawkins, they had sufficient knowledge and

reasonably trustworthy information to believe that he either had fired a gun from the 936 Building's

 

93

With regard to Holmes’s testimony that he told officers inside the 936 Building that the

defendants had been with him on
defendants testified that they were
In any event, even if one assumes

the sixth floor, the officers who frisked and arrested the
not aware of Holmes’s statements to the officers inside.
that the officers knew of Holmes’s statements, they were

entitled to rely on the other in¢riminating evidence they gathered, which linked the

defendants to the gunshot report.

2008) (quoting United States v. Vi

is ‘as consistent with innocence 4

where there is some indication of
94

See United States v. Robinson, 41

oS

See United States v. Padilla, 548 F.3d 179, 187 (2d Cir.
liegas, 928 F.2d 512, 516 (2d Cir. 1991) (“[C]Jonduct that
s with guilt may form the basis for an investigative stop
possible illicit activity.””).

4 U.S. 218, 224-26 (1973).

United States v. Steppello, 664 F.3d 359, 364 (2d Cir. 201 1) (quotation marks omitted)

(quoting United States v. Gagnon

373 F.3d 230, 236 (2d Cir. 2004).

 

 
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roof or intentionally aided Diaz or someone else
him at a high crime building with a known, aces

potential shooter to descend. The officers obs

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in doing so. The second ShotSpotter report placed
»ssible roof at about the time it would have taken a

erved him engaging in nervous, evasive behavior

when they approached. A witness informed the officers that he saw Hawkins coming down from

the roof. The officers recovered a bullet casing on that roof. And Hawkins admitted to being inside

the building with Diaz, who was found with a gun.

Hawkins's argument that his mere proximity to Diaz cannot support a finding of

probable cause ignores the number of other pieces of evidence that connected Hawkins to the

shooting. In this regard, his circumstance is di

case he cites, Ybarra v. Illinois.” There, the S

stinct from the circumstance of the defendant in the

upreme Court held that “mere propinquity to others

independently suspected of criminal activity does not, without more, give rise to probable cause to

search that person.”*” But here, Diaz was not independently suspected of criminal activity: the

officers testified that they suspected Diaz and

any event, the officers’ suspicion of Hawkins w

Tawkins committed the shooting together.”* And, in

as supported by additional evidence gathered during

their step-by-step investigation, which connected Hawkins to the crime.

 

96 444 U.S. 85 (1979).
7 Id. at 91.

a See, e.g., Tr. at 144:18-145:10.

 

 
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Accordingly, once the officers discovered the gun on Diaz, they reasonably believed

that Hawkins was not merely an innocent bystander.

Conclusion
For the foregoing reasons, Defendants’ motion to suppress [Dkt. 12] is denied.

The foregoing constitute the Court’s findings of fact and conclusions of law.

SO ORDERED.
Dated: October 14, 2020 fh
MN UCLA |

~ Lewis A. aol
United States Kaolgt Judge

 

 
